    Case 4:20-cv-03709 Document 30-2 Filed on 11/02/20 in TXSD Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

STEVEN HOTZE, M.D., WENDELL                   )    Civil Action
CHAMPION, HON. STEVE TOTH, AND                )    No. 4:20-cv-03709-ASH
SHARON HEMPHILL,                              )
                                              )
                     Plaintiffs,              )
       v.                                     )
                                              )
CHRIS HOLLINS, in his official capacity as    )
Harris County Clerk,                          )
                                              )
                                              )
                     Defendant.
                                              )




                                         ORDER

UPON review of the “Motion for Leave to File Brief on Behalf of Amici Curiae Election Law

Professors,” the Court orders the Motion GRANTED / DENIED.



       SIGNED this the __________ day of November 2020.




                                                  ______________________________
                                                  Hon. Andrew S. Hanen
                                                  United States District Judge
